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PREET BHARARA

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UNITED STATES DISTRICT COURT
S/OUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA et al. ex rel.
MARC D. BAKER,

Plaintiffs,
V 12 Civ. 0300 (JPO)

WALGREENS, lNC.,

Defendant.

 

 

UNITED STATES OF AMERICA,
Plaintiff-Intervenor,

v. 12 Civ. 0300 (JPO)

WALGREEN CO.,

Defendant.

 

 

Plaintiff United States of America (“United States” or “Government”), by its attorney,
Preet Bharara, United States Attorney for the Southern Distriet of New York, brings this action

against Walg‘reen Co. (“Walgreens”), alleging upon information and belief as follows:

 

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PRELIMINARY STATEMENT

1. This is a civil action brought by the United States against Walgreens under the
False Claims Act, 31 U.S.C. §§ 3729 et seq. (“FCA”), and the common law to recover damages
sustained by, and civil penalties owed to, the United States based on Walgreens’ violation of the
Anti-Kickback Statute (“AKS”), 42 U.S.C. § 1320a~7b, in connection with its enrollment of
beneficiaries of government healthcare programs _ specifically, beneficiaries of the l\/Iedicare,
Medicaid and TRICARE programs (“government beneficiaries”) _ in its Prescription Savings
Club program (“PSC program”). As set forth more fully below, from January 1, 2007, through
December 31, 2010 (“Covered Period”), Walgreens violated the AKS and the FCA by enrolling
hundreds of thousands of government beneficiaries in the PSC program _ and providing them
with discounts on prescription medications and other monetary benefits pursuant to the PSC
program - in order to induce them to self-refer all of their prescription drug purchases to
Walgreens’ pharmacies.

2. Under the AKS, it is unlawful for a pharmacy like Walgreens to knowingly and
willfully offer or pay remuneration to a government beneficiary in order to induce such person to
purchase a drug from the pharmacy for which payment may be made in whole or in part by a
government healthcare program. Throughout the Covered Period, the benefits that Walgreens
provided to PSC program members (which are described below) qualified as remuneration

3. Walgreens launched the PSC program in 2007. Throughout the Covered Period,
the PSC program provided PSC program members with discounts on thousands of brand~name
and generic drugs, as well as a 10% rebate on all Walgreens’ branded products, including

household products, baby-care products, most grocery items, and non-prescription medications

 

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Walgreens intended these lower drug prices and other benefits to be an inducement to its existing
and potential customers to cause them to patronize Walgreens for all of their pharmacy needs
Walgreens feared that if it did not offer these benefits to its customers, many of them would take
their pharmacy business to one of Walgreens’ competitors

4. Given the nature of the PSC program (z'.e., a discount program through which
Walgreens intended to induce its existing and potential customers to self-refer all of their
pharmacy business to Walgreens), Walgreens recognized that allowing government beneficiaries
to participate in the PSC program would violate the AKS. Specifically, Walgreens recognized
that the features of the PSC program that made it attractive to its customers generally would act
as an unlawful inducement if made available to government beneficiaries as it would prompt
them to patronize Walgreens for all of their prescription medication needs, including those paid
for in whole or in part by government healthcare programs Accordingly, throughout the
Covered Period, Walgreens consistently maintained in its published materials regarding the PSC
program that government beneficiaries were ineligible to participate in the program.

5 . Notwithstanding Walgreens’ understanding that allowing government
beneficiaries to participate in the PSC program would violate the AKS _ as well as its published
materials stating that government beneficiaries were excluded from the program »_ during the
Covered Period, Walgreens consistently marketed the PSC program to government beneficiaries
F or example, when a customer who was not a PSC program member picked up a prescription at v
a Walgreens’ pharmacy, Walgreens provided the customer with a leaflet identifying the amount
the customer would purportedly save on the prescription if he or she was a PSC program
member. Walgreens provided these leaflets to all types of customers, including government

beneficiaries

 

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6 . Moreover, throughout the Covered Period, Walgreens incentivized its employees
to enroll customers in the PSC program, regardless of whether they were government
beneficiaries For example, from May 2008 through August 2010, Walgreens paid its employees
from $l to $5 for each customer they enrolled in the PSC program. In making these incentive
payments, Walgreens did not check whether any of the customers who had been enrolled were
government beneficiaries

7. As a result of the above-described and other conduct, during the Covered Period,
Walgreens enrolled hundreds of thousands of government beneficiaries in the PSC program.
Moreover, during the Covered Period, Walgreens knew that it Was enrolling substantial numbers
of government beneficiaries in the PSC program. For example, in October 2007 , Walgreens
conducted an analysis of its PSC program members and found that approximately 13,000 of
them were government beneficiaries At that time, Walgreens removed those individuals from
the PSC program, but it subsequently allowed many of those very same government beneficiaries
to re~enroll in the program.

8. In addition, during the Covered Period _ including after October 2007 _
employees in Walgreens’ pharmacies nationwide made notations in Walgreens’ internal
customer database reflecting that tens of thousands of government beneficiaries were enrolled in
and purchasing prescription drugs using the PSC program.

9. Furthermore, throughout the Covered Period, Walgreens maintained data
reflecting each prescription filled by each of its customers A review of this data would have
revealed that, during the Covered Period, there were hundreds of thousands of government
beneficiaries enrolled in the PSC program. In fact, towards the end of the Covered Period, in

August 2010, Walgreens conducted an analysis of PSC program members in one particular state,

 

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and that analysis reflected that about half of the PSC program members in that state in 2009 and
2010 were government beneficiaries Walgreens, however, failed to take action in response to
this and other evidence from after October 2007 of government beneficiary participation in the
PSC program.

10. The discounts and other benefits that Walgreens provided to government
beneficiaries pursuant to the PSC program constituted unlawful kickbacks under the AKS, as
they were an inducement to the government beneficiaries to patronize Walgreens for all of their
prescription drug needs, including to fill prescriptions that were paid for in whole or in part by
government healthcare programs

11. Walgreens not only provided the above-referenced kickbacks to government
beneficiaries _ which induced the beneficiaries to fill prescriptions at Walgreens’ pharmacies
using their government healthcare programs _- but it also sought reimbursement from the
government healthcare programs for those kickback~tainted prescriptions As a result of this
conduct, Walgreens knowingly submitted and caused to be submitted false claims for payment to
federal healthcare programs (specifically, the Medicare, Medicaid and TRICARE programs), and
it is liable under the FCA and the common law for damages and penalties for those false claims,
as discussed in detail below.

JURISDICTION AND VENUE

12. This Court has jurisdiction over the claims brought under the False Claims Act

pursuant to 31 U.S.C. § 3730(a) and 28 U.S.C. §§ 1331 and 1345, and over the remaining claims

pursuant to 28 U.S.C. § 1345.

 

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13. Venue lies in this District pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. §§
139l(b) and 1391(c), because Walgreens does business in this district and some of the false or
fraudulent acts occurred in this district.

PARTIES

14. Plaintiff is the United States of America suing on its own behalf and on behalf of
the United States Department of Health and Human Services (“HHS”), and its component
agency, the Centers for Medicare and Medicaid Services (“CMS”) (formerly known as the
Health Care Financing Administration), which administers the Medicare program and is
responsible for overseeing the Medicaid program. Plaintiff is also suing on behalf of the
Department of Defense, which administers the TRICARE/CHAMPUS program (TRICARE”).

15. In January 2012, Marc D. Baker (“Relator”) filed this action under the qui ram
provisions of the FCA, alleging, inter alia, that Walgreens had violated the AKS and FCA in
connection with its enrollment of government beneficiaries in the PSC program. Relator filed an
amended complaint in December 2013. Relator worked for Walgreens as a pharmacy manager
in Florida from April 2001 until December 2011.

16. Defendant Walgreens is a nationwide retail pharmacy chain, Which during the
Covered Period, owned and operated thousands of retail pharmacies located across the United
States, including in the Southern District ofNew York. During the Covered Period, Walgreens
enrolled government beneficiaries located in the Southern District of New York in the PSC

pI`O gram .

 

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FACTUAL ALLEGATIONS
I. The Anti-Kickback Statute and the False Claims Act

17. The FCA establishes liability to the United States for an individual who, or entity
that, “knowingly presents, or causes to be presented, a false or fraudulent claim for payment or
approval,” 31 § 3729(a)(1)(A); or “knowingly makes, uses, or causes to be made or used, a false
record or statement material to a false or fraudulent claim,” id. § 3729(a)(1)(B).l “Knowingly”
is defined to include actual knowledge, reckless disregard and deliberate indifference
Id. § 3729(b)(1). No proof of specific intent to defraud is required. ]d.

18. The AKS makes it illegal for individuals or entities to knowingly and willfully
“offer[] or pay[] remuneration (including any kickback, bribe, or rebate) . . . to any person to
induce such person . . . to purchase, . . . order, . . . or recommend purchasing . . . or ordering any
good . . . or item for which payment may be made in whole or in part under a Federal health care
program.” 42 U.S.C. § 1320a-7b(b)(2). Under the circumstances of this case, the discounts and
other benefits that Walgreens provided to government beneficiaries pursuant to the PSC program

are examples of Such illegal remuneration Violation of the AKS is a felony punishable by fines

 

1 ln May 2009, the False Claims Act was amended pursuant to Public Law 111-21, the
Fraud Enforcement and Recovery Act of 2009 (“FERA”). Section 3729(a)(1)(B) was formerly
Section 3729(a)(2), and is applicable to Walgreens’ conduct for the entire time period alleged in
this Complaint by virtue of Section 4(f) of FERA. Section 3279(a)(l)(A), formerly Section
3729(a)(1) of the FCA prior to FERA, and as amended in 1986, applies to conduct on or after
May 20, 2009. Section 3729(a)(1) of the pre-FERA FCA provides, in pertinent part, that:

(a) Any person who (l) knowingly presents, or causes to be presented, to an officer
or employee of the United States Government or a member of the Armed Forces
of the United States a false or fraudulent claim for payment or approval . . .

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is liable to the United States Government for a civil penalty of not less than
$5,000 and not more than 810,000, plus 3 times the amount of damages which the
Government sustains because of the act of that person . . . .

 

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and imprisonment and can also result in exclusion from participation in federal healthcare
programs 42 U.S.C. § 1320a~7b(b)(2); 42 U.S.C. § 1320a-7(b)(7).

19. Compliance with the AKS, 42 U.S.C. § 1320a-7b(b), is a condition of payment
under federal healthcare programs

20. ln connection with its payment of kickbacks to government beneficiaries inducing
them to self~refer their prescriptions to Walgreens’ pharmacies (including prescriptions that were
paid for in whole or in part by government healthcare pro grams), Walgreens both submitted and
caused the submission of false claims to federal healthcare programs

21. Pursuant to the Federal Civil Penalties lnflation Adjustment Act of 1990, as
amended by the Debt Collection Improvement Act of 1996, 28 U.S.C. § 2461 (notes), and 64
Fed. Reg. 47099, 47103 (1999), the FCA civil penalties are $5,500 to $l 1,000 for violations,
such as those alleged here, occurring on or after September 29, 1999.
II. The Federal Healthcare Programs
y 22. When a physician prescribes a pharmaceutical product to a patient, the patient is
provided with a prescription that is filled at a pharmacy. Where the patient is a government
beneficiary, the pharmacy then submits the claim for payment to the relevant federal healthcare
program for reimbursement

23. Medicare. Medicare is a federal program that provides federally subsidized
health insurance primarily for persons who are 65 or older or disabled. See 42 U.S.C. §§ 1395 et
seq. (“Medicare Program”). Part D of the Medicare Pro gram was enacted as part of the
Medicare Prescription Drug, lmprovement, and Modernization Act of 2003, Pub. L. No. 108~
173, to provide prescription drug benefits for Medicare beneficiaries Medicare Part D became

effective January 1, 2006. All persons enrolled in Medicare Part A and/or Medicare Part B are

 

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eligible to enroll in a prescription drug plan under Part D. HHS, through its component agency,
CMS, contracts with private companies (or “Part D sponsors”) to administer prescription drug
plans Such companies are regulated and subsidized by CMS pursuant to one-year, annually
renewable contracts Part D sponsors enter into subcontracts with many pharmacies to provide
drugs to the Medicare Part D beneficiaries enrolled in their plans

24. Generally, after a physician writes a prescription for a patient who is a Medicare
beneficiary, that patient can take the prescription to a pharmacy to be filled. When the pharmacy
dispenses drugs to the Medicare beneficiary, the pharmacy submits a claim electronically to the
beneficiary’s Part D sponsor (sometimes through the sponsor’s pharmacy benefit manager, or
“PBM”). The pharmacy receives reimbursement from the sponsor (or PBM) for the portion of
the drug cost not paid for by the beneficiary. The Part D sponsor is then required to submit to
CMS an electronic notification of the drug dispensing event, called the Prescription Drug Event
(“PDE”), which contains data regarding the prescription claim, including the pharmacy that
dispensed the drug, the prescriber of the drug, the quantity dispensed, the amount that was paid
to the pharmacy, and whether the drug is covered under the Medicare Part D benefit

25. Payments by CMS to a Part D Plan sponsor are conditioned on the provision of
information to CMS that is necessary for CMS to administer the Part D program and make
payments to the Part D Plan sponsor for qualified drug coverage. 42 C.F.R. § 423.322. CMS’s
instructions for the submission of Part D prescription PDE claims data state that “information . . .
necessary to carry out this subpart” includes the data elements of a PDE. PDE records are an
integral part of the process that enables CMS to administer the Part D benefit Each PDE that is

submitted to CMS is a summary record that documents the final adjudication of a dispensing

 

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event based upon claims received from pharmacies and serves as the request for payment for
each individual prescription submitted to Medicare under the Part D program.

26. CMS gives each Part D sponsor advance monthly payments consisting of the Part
D sponsor plan’s direct subsidy per enrollee (which is based on a standardized bid made by the
Part D sponsor), estimated reinsurance subsidies for catastrophic coverage, and estimated low-
income subsidies 42 C.F.R. §§ 423.315, 423.329. At the end of the payment year, CMS
reconciles the advance payments paid to each Part D sponsor with the actual costs the sponsor
has incurred. In this reconciliation process, CMS uses the PDE claims data it has received from
the Part D sponsor during the prior payment year to calculate the costs the Part D sponsor has
actually incurred for prescriptions filled by Medicare beneficiaries under Part D. If CMS
underpaid the sponsor for low-income subsidies or reinsurance costs, it will make up the
difference If CMS overpaid the sponsor for low-income subsidies or reinsurance costs, it will
recoup the overpayment from the sponsor. After CMS reconciles a plan’s low-income subsidy
and reinsurance costs, it then determines risk-sharing amounts owed by the plan to CMS or by
CMS to the plan related to the plan’s direct subsidy bid. Risk-sharing amounts involve
calculations based on whether and to what degree a plan’s allowable costs exceeded or fell below
a target amount for the plan by certain threshold percentages 42 C.F.R. § 423.336.

27. The payments made by CMS to the Part D sponsor come from the Medicare
Prescription Drug Account, an account within the Federal Supplementary Medical insurance
Trust Fund. 42 C.F.R. § 423.315(a).

28. ln order to receive Part D funds from CMS, Part D sponsors, as well as their
authorized agents, employees, contractors, and subcontractors (including pharmacies), are

required to comply with all applicable federal laws, regulations, and CMS instructions

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29. By statute, all contracts between a Part D sponsor and HHS must include a
provision whereby the sponsor agrees to comply with the applicable requirements and standards
of the Part D program as well as the terms and conditions of payment governing the Part D
program. 42 U.S.C. § 1395w-112.

30. Medicare Part D sponsors must also certify in their contracts with CMS that they
agree to comply with all federal laws and regulations designed to prevent fraud, waste, and
abuse, including the FCA and AKS. 42 C.F.R. § 423.505(h)(1).

31. In accordance with these express statutory and regulatory requirements all
contracts entered into between CMS and Part D sponsors from 2006 through the present include
a provision in which the sponsor “agrees to comply with . . . federal laws and regulations
designed to prevent . . . fraud, waste, and abuse, including, but not limited to, applicable
provisions of Federal criminal law, the False Claims Act (31 U.S.C. §§ 3729 et Seq.), and the
anti-kickback statute (§ 1127B(b) of the Act).”

32. CMS regulations further require that all subcontracts between Part D sponsors and
downstream entities _ such as pharmacies like Walgreens and PBMS -- contain language
obligating the pharmacies and PBMS to comply with all applicable federal laws, regulations, and
CMS instructions, which include the AKS. 42 C.F.R. § 423.505(i)(4)(iv).

33. Medicaid. Medicaid is a joint federal-state program created in 1965 that provides
healthcare benefits for certain groups, primarily the poor and disabled Each state administers a
state Medicaid program. The federal Medicaid statute requires each participating state to
implement a plan containing certain specified minimum criteria for coverage and payment of
claims 42 U.S.C. §§ 1396, 1396a(a)(13), l396a(a)(30)(A). While drug coverage is an optional

benefit, the Medicaid programs of all states provide reimbursement for prescription drugs

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34. The federal portion of each state’s Medicaid payments, known as the Federal
Medical Assistance Percentage (“FMAP”), is based on the state’s per capita income compared to
the national average 42 U.S.C. § 1396d(b). Among the states, the FMAP is at least 50 percent
and is as high as 83 percent Federal funding under Medicaid is provided only when there is a
corresponding state expenditure for a covered Medicaid service to a Medicaid recipient The
federal government pays to the state the statutorily established share of the “total amount
expended . . . as medical assistance under the State plan.” 42 U.S.C. § 1396b(a)(1).

35. The vast majority of states award contracts to private companies to evaluate and
process claims for payment on behalf of Medicaid recipients Typically, after processing the
claims, these private companies then generate funding requests to the state Medicaid programs
Before the beginning of each calendar quarter, each state submits to CMS an estimate of its
Medicaid federal funding needs for the quarter. CMS reviews and adjusts the quarterly estimate
as necessary, and determines the amount of federal funding each state will be permitted to draw
down as it incurs expenditures during the quarter. The state then draws down federal funding as
actual provider claims, including claims from pharmacies seeking payment for drugs, are
presented for payment After the end of each quarter, the state then submits to CMS a final
expenditure report, which provides the basis for adjustment to the quarterly federal funding
amount (to reconcile the estimated expenditures to actual expenditures). 42 C.F.R. § 430.30.

36. Medicaid claims arising from illegal kickbacks are not authorized to be paid under
relevant federal authority. Further, such claims are not payable under state regulatory regimes
For example, the New York regulatory regime provides that an “overpayment includes any
amount not authorized to be paid under the medical assistance pro gram, whether paid as the

result of inaccurate or improper cost reporting, improper claiming, unacceptable practice, fraud,

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abuse or mistake.” N.Y. Comp. Codes R. & Regs. Title 18 § 518.1(0). “Unacceptable practice”
is defined to include “[bjribes and kickbacks,” id. § 515.2(b)(5), and lists within this category
both “soliciting or receiving,” id. § 515.2(b)(5)(ii), and “offering or paying,” id.

§ 515.2(b)(5)(iv), “either directly or indirectly any payment (including any kickback, bribe,
referral fee, rebate or discount), whether in cash or in kind, in return for purchasing, leasing,
ordering or recommending any medical care, services or supplies for which payment is claimed
under the program,” id. § 515.2(b)(5)(ii), (iv). New York’s anti-kickback statute forbids
kickbacks in similar terms See N.Y. Soc. Serv. Law §§ 366-d, ~f.

37. Providers who participate in the Medicaid pro gram, including pharmacies, must
sign enrollment agreements with their states that certify compliance with the state and federal
Medicaid requirements, which include the AKS. Although there are variations among the states,
the agreements typically require the prospective Medicaid providers to agree that they will
comply with all state and federal laws and Medicaid regulations in billing the state Medicaid
program for services or supplies (including prescription drugs) furnished

38. Furthermore, in many states, Medicaid providers, including pharmacies, must
affirmatively certify, as a condition of payment of the claims submitted for reimbursement by
Medicaid, compliance with applicable federal and state laws and regulations which include the
AKS.

39. In New York, for example, providers, including pharmacies, must periodically
sign a “Certification Statement for Provider Billing Medicaid,” in which the providers certify
that claims submitted “to the State’s Medicaid fiscal agent, for services or supplies furnished,”

“will be subject to the following certification. . . . l (or the entity) have furnished or caused to be

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furnished the care, services and supplies itemized and done so in accordance with applicable
federal and state laws and regulations.” j

40. TRICARE. TRICARE (formerly known as CHAMPUS) is part of the United
States military’s healthcare system, designed to maintain the health of active duty service
personnel, provide health care during military operations and offer health care to non-active
’ duty beneficiaries including dependents of active duty personnel, and military retirees and their
dependents The military health system, which is administered by the Department of Defense
(“DOD”), is composed of the direct care system, consisting of military hospitals and military
clinics and the benefit program, known as TRICARE. TRICARE is a triple-option benefit
program designed to give beneficiaries a choice between health maintenance organizations
preferred provider organizations and fee-for-service benefits

41. TRICARE prescription drug benefits are provided through several different
sources including, as relevant here, TRICARE network and non-network retail pharmacies
TRICARE contracts with a PBM to administer the prescription drug benefits that are provided
through network and non-network retail pharmacies

42. When a TRICARE beneficiary brings a prescription to a TRICARE network retail
pharmacy, the pharmacy submits an electronic claim to the PBM for that prescription event The
PBM sends an electronic response to the pharmacy that confirms the beneficiary’s TRICARE
coverage, and, if the prescription claim is granted, informs the pharmacy of the calculated
pharmacy reimbursement amount and the co-pay (if applicable) to be collected from the
beneficiary. The pharmacy then collects the co-pay amount (if any) from the beneficiary and
dispenses the medication After a 10-day hold to ensure the prescription was picked up and not

returned to the shelf by the pharmacy, the PBM sends a TRICARE Encounter Data (“TED”)

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record electronically to TRICARE. The TED record includes information regarding the
prescription event, including the reimbursement amount to be paid to the dispensing pharmacy.
TRICARE then authorizes the PBM to make payment to the pharmacy for the amount remaining
(after co-pay) on the claim. The PBM sends the payment to the pharmacy. After the payment is
made by the PBM’s bank, the PBM’s bank requests reimbursement from the Federal Reserve
Bank (“FRB”). The FRB then transfers funds to the PBM’s bank account

43. lf the prescription is filled at a non-network retail pharmacy, the beneficiary must
pay the full price of the prescription to the pharmacy and file a claim for reimbursement on DD
Form 2642, TRICARE/DOD.CHAMPUS Medical Claim ~ Patient’s Request for Medical
Payment (“Form 2642”). The Form 2642 is mailed to the PBM. As in the case of
reimbursements to TRICARE network retail pharmacies a TED record is created by the PBM
and sent to TRICARE. TRICARE then authorizes payment to the TRICARE beneficiary. Upon
receiving that authorization, the PBM issues a check to the beneficiary, which is drawn on the
PBM’s bank account TRICARE then reimburses the PBM in the same manner as it does under
the network retail pharmacy scenario, such that funds are transferred from the FRB to the PBM’s
bank account

44. Any providers providing services to TRICARE beneficiaries including network
and non-network retail pharmacies are required to comply with TRlCARE’s program
requirements including its anti-abuse provisions 32 C.F.R. § 199.9(a)(4). TRICARE
regulations provide that claims submitted in violation of TRlCARE’s anti-abuse provisions are
subject to denial. Id. § 199.9(b). Kickback arrangements are included within the definition of

abusive situations that warrant the denial of claims ]d. §§ l99.2(b), 199.9(0)(12).

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III. Walgreens Prescription Savings Club Program

45 . Walgreens launched the PSC program in 2007.

46. Throughout the Covered Period, customers who enrolled in the PSC program
were eligible to receive substantial discounts on thousands of generic and brand-name
prescription medications

47. PSC members were also eligible to receive other monetary benefits including a
10% rebate on purchases of Walgreens’ branded products such as household products baby care
products most grocery items and non-prescription medications When a PSC member made an
eligible purchase and presented his or her PSC membership card at the time of purchase, 10% of
the pre-tax purchase price of the item was credited to the PSC member’s PSC card. The earned
credits were then applied to the next eligible purchase the PSC member made.

48. Upon enrolling in the PSC program, a customer received his or her PSC
membership card, which Walgreens referred to as the “WCard.”

IV. Walgreens Understood that It Was a Violation of the AKS to AlloW Government
Beneficiaries to Participate in the PSC Program

49. Walgreens designed the PSC program to be attractive to, among others current or
prospective customers whose prescription drug insurance coverage was insufficient for some or
all of their prescription drug needs The PSC program offered such customers _ which included
government beneficiaries - the opportunity to obtain discounts on their prescription drugs
where the discounted prices of the drugs under the PSC program were cheaper than the amounts
the customers would have paid for the drugs under their existing healthcare programs

50. As set forth above, the PSC program also offered such customers rebates on a
wide variety of retail items sold at Walgreens’ pharmacies such as household products baby-

care products most grocery items and non-prescription medications

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51. Walgreens intended the PSC program discounts and rebates - including on
prescription and non-prescription medications as well as on consumer and household items _ to
serve as an inducement to its customers to prompt them to patronize Walgreens for all of their
pharmacy needs Walgreens feared that if it did not offer such discounts and rebates to its
customers many of them would take their pharmacy business to one of Walgreens’ competitors

52. However, Walgreens recognized that the monetary benefits offered through the
PSC program that were intended to be attractive to under-insured customers generally would be
equally attractive to government beneficiaries Walgreens also recognized that if it made the
PSC program discounts and rebates available to government beneficiaries those discounts and
rebates would be an inducement to such beneficiaries to obtain all of their prescription
medications at Walgreens’ pharmacies including those paid for in whole or in part by
government healthcare programs which would constitute a violation of the AKS.

53. As a result, throughout the Covered Period, Walgreens consistently maintained in
its published materials regarding the PSC program that government beneficiaries were not
eligible to participate in the pro gram.

54. Notably, early in the Covered Period, in October 2007, Walgreens reviewed its
existing pool of PSC program members and identified approximately 13,000 PSC members who
were beneficiaries of the Medicare and Medicaid programs Walgreens removed those
government beneficiaries from the PSC program at that time precisely because it understood that
allowing government beneficiaries to participate in the PSC program was a violation of the AKS.
Indeed, when Walgreens removed the 13,000 government beneficiaries from the PSC program in
October 2007, it explained in an internal company news release that “the removal was necessary

to comply with State/F ederal regulations”

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5 5. Walgreens’ understanding of the legality of enrolling government beneficiaries in
the PSC program did not change after October 2007 or at any point during the remainder of the
Covered Period. For example, an internal company document from December 2008 notes that
“PSC excludes any patient that is enrolled in a publicly funded health care program due to legal
restrictions” including the “[a]nti-kickback statute[].”

56. Similarly, in an email from June 2009, the Walgreens official in charge of the
PSC program confirmed to another Walgreens employee that allowing government beneficiaries
to enroll in the PSC program would be “a direct violation of [the] anti-kickback or inducement
rules”

57. Moreover, in a June 2010 submission to one of its state regulators regarding the
PSC program, Walgreens stated:

In constructing the PSC program, Walgreens determined that it would be improper to

offer Medicaid and Medicare beneficiaries the discounts and benefits afforded to PSC

members since doing so could improperly induce such beneficiaries to obtain their
publicly funded goods and services from Walgreens in violation of federal Anti-

Inducement law.

58. Throughout the Covered Period, Walgreens was thus well aware that it was a
violation of the AKS to allow government beneficiaries to participate in the PSC program.

V. Walgreens Marketed the PSC Program to Government Beneficiaries and
Incentivized Its Employees to Enroll Customers in the PSC Program, Regardless of
Whether the Customers Were Government Beneficiaries
5 9. Notwithstanding Walgreens’ understanding throughout the Covered Period that

allowing government beneficiaries to participate in the PSC program was a violation of the AKS,

Walgreens nevertheless routinely marketed the PSC program to government beneficiaries

60. For example, when a customer who was not a PSC member picked up a

prescription at a Walgreens’ pharmacy, Walgreens provided the customer with a computer-

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generated leaflet that solicited the customer to enroll in the PSC program, including by
identifying the amount of money that the customer purportedly would save on the prescription if
he or she enrolled in the PSC program and filled the prescription through the PSC program.
Walgreens provided these leaflets to all types of customers including government beneficiaries
` During the Covered Period, Walgreens provided many such leaflets to government beneficiaries

61. During the Covered Period, Walgreens also incentivized its employees to enroll
customers in the PSC program, regardless of whether the customers were government
beneficiaries In addition to setting goals for the number of PSC enrollments it expected for
individual pharmacy locations and pressuring employees at those locations to meet the goals
Walgreens also offered pharmacy employees monetary bonuses based on the number of unique
customers they enrolled in the PSC program. lmportantly, in calculating the number of
customers that pharmacy employees had enrolled in the PSC program for purposes of
determining the amount of bonus money such employees were due, Walgreens did not verify that
the enrolled customers were not government beneficiaries

62. For example, in 2008, Walgreens implemented a program pursuant to which it
paid pharmacy employees 85 for each customer they enrolled in the PSC program on certain,
designated PSC enrollment days (referred to internally as “PSC Days”), and $3 for each
customer they enrolled in the PSC program on all other days ln 2009, Walgreens modified the
incentive to $3 for each customer enrolled on PSC Days, and $l for each customer enrolled on
all other days ln calculating the number of customers that a pharmacy employee enrolled in the
PSC program _ and thus the amount of money due to be paid to the employee pursuant to this
incentive program _ Walgreens did not check whether the customers who had been enrolled

were government beneficiaries

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63. Walgreens’ practice of paying employees for each customer they enrolled in the
PSC program led to significant growth in the number of PSC program members For example, in
an email from September 2009, a Walgreens official boasted that the most recent PSC Day
resulted in more than 8,000 new enrollments and he stated that he anticipated the next PSC Day
would result in more than 10,000 new enrollments

64. Predictably, Walgreens’ practice of marketing the PSC program to government
beneficiaries as well as the incentives it provided to its employees to enroll customers in the
PSC program (regardless of whether the customers were government beneficiaries), resulted in
the enrollment of a substantial number of government beneficiaries in the PSC program during
the Covered Period.

VI. Walgreens Knowingly Enrolled Hundreds of Thousands of Government
Beneficiaries in the PSC Program

65. Throughout the Covered Period, Walgreens maintained data reflecting each
prescription filled by each of its customers This data reflects that, throughout the Covered
Period, Walgreens enrolled hundreds of thousands of government beneficiaries in the PSC
program. F or these government beneficiaries Walgreens’ data shows that the beneficiaries filled
prescriptions using government healthcare programs during the same period when they were
enrolled in and also filling prescriptions using the PSC program.

66. The data further indicates that many of the government beneficiaries who were
enrolled in the PSC program altemated between using the PSC program and their government
healthcare program to fill their prescriptions depending on which program they believed offered
them a more favorable price. For example:

0 Customer A, a Medicare beneficiary from Florida, filled a prescription using

Medicare on April 29, 2008, a prescription using the PSC program on May 21,
2008, and another prescription using Medicare on June 13, 2008.

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¢ Customer B, a Medicaid beneficiary from California, filled a prescription
using Medicaid on May 18, 2008, two prescriptions using the PSC program on
July 13 and July 22, 2008, and another prescription using Medicaid on
September 25, 2008.

¢ Customer C, a Medicare beneficiary from California, filled a prescription
using the PSC program on November 12, 2008, two prescriptions using
Medicare on November 18 and December 2, 2008, and another prescription
using the PSC program on December 11, 2008.

0 Customer D, a TRICARE beneficiary from Illinois filled a prescription using
TRICARE on September 4, 2007, a prescription using the PSC program on
September 29, 2007, three additional prescriptions using TRICARE on
October 2 and 16, 2007, and another prescription using the PSC program on
October 30, 2007.

¢ Customer E, a Medicare beneficiary from lllinois filled a prescription using
Medicare on August 19, 2008, a prescription using the PSC program on
September 4, 2008, another prescription using Medicare on September 19,
2008, and another prescription using the PSC program on October 4, 2008.

¢ Customer F, a Medicaid beneficiary from California, filled a prescription
using the PSC program on November 28, 2008, a prescription using Medicaid
on February 7, 2009, and another prescription using the PSC program on
May 29, 2009.

0 Customer G, a Medicare beneficiary from California, filled a prescription
using Medicare on January 18, 2009, a prescription using the PSC program on
February18, 2009, and another prescription using Medicare on June 9, 2009.

v Customer H, a TRICARE beneficiary from Illinois filled a prescription using
TRICARE on April 3, 2009, a prescription using the PSC program on May 22_,
2009, and another prescription using TRICARE on June 9, 2009.

¢ Customer I, a Medicaid beneficiary from New York, filled a prescription
using Medicaid on September 29, 2009, a prescription using the PSC program
on November 28, 2009, and another prescription using Medicaid on December
19, 2009.

0 Customer J, a Medicare beneficiary from Florida, filled a prescription using
the PSC program on July 27, 2009, a prescription using Medicare on
September 1, 2009, another prescription using the PSC program on September
29, 2009, and another prescription using Medicare on October 2, 2009.

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Customer K, a Medicare beneficiary from Florida, filled a prescription using
the PSC program on May 6, 2009, a prescription using Medicare on May 18,
2009, another prescription using the PSC program on July 22, 2009, and
another prescription using Medicare on August 19, 2009.

67. Throughout the Covered Period, Walgreens had actual knowledge or deliberately

or recklessly disregarded that significant numbers of government beneficiaries were enrolling

and participating in the PSC program. As an initial matter, a review of the internal data

referenced above _ to which Walgreens had ready access _ would have revealed that hundreds

of thousands of government beneficiaries were enrolled and participating in the PSC program.

68. Moreover, during the Covered Period, employees at Walgreens’ pharmacies

nationwide made notations in Walgreens’ internal customer database reflecting that tens of

thousands of government beneficiaries were purchasing drugs using the PSC program. The

employees made these notations in the address fields for these customers For example:

Customer L, a Medicare beneficiary from Florida, had Medicare Part D listed
as his primary insurance in the customer database, but his address field
included the note “*WCARD l\/[ETO/Sll\/lVA’’.2

Customer M, a Medicare beneficiary from Illinois, had Medicare Part D listed
as her primary insurance in the customer database, but her address field
included the note “wcard on digoxin”.

Customer N, a Medicaid beneficiary from Texas had Medicaid listed as his
primary insurance in the customer database, but his address field included the
note “*testosterone-wcard*”.

Customer O, a TRICARE beneficiary from Florida, had TRICARE listed as
her primary insurance in the customer database, but her address field included
the note “+BRAND COUMADIN+WCARD+”.

Customer P, a Medicare beneficiary nom Florida, had Medicare Part D listed
as his primary insurance in the customer database, but his address field
included the note “(wcard if cheaper)”.

 

2 As set forth above, Wal greens referred to the PSC program membership card as the “WCard.”

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¢ Customer Q, a Medicare beneficiary from Ohio, had Medicare Part D listed as
her primary insurance in the customer database, but her address field included
the note “wcard on some things”.

¢ Customer R, a Medicaid beneficiary from New York, had Medicaid listed as
her primary insurance in the customer database, but her address field included
the note “*pt has wcard*”.

¢ Customer S, a Medicare beneficiary from Texas had Medicare Part D listed
as her primary insurance in the customer database, but her address field
included the note cc""“some on wcard”.

¢ Customer T, another Medicare beneficiary from Texas had Medicare Part D
listed as her primary insurance in the customer database, but her address field
included the note c‘”“*wcard for hyoscyamine*”.

¢ Customer U, a Medicaid beneficiary from lllinois had Medicaid listed as his
primary insurance in the customer database, but his address field included the
note cc"‘pt has wcard*check both”.

69. A cursory review by Wal greens of its above-referenced internal customer
database would have revealed evidence of significant participation by government beneficiaries
in the PSC program.

n 70. Moreover, after removing the above-referenced approximately 13,000
government beneficiaries from the PSC program in October 2007 _ precisely because these
individuals were government beneficiaries _ Walgreens allowed many of the very same
government beneficiaries to re-enroll in the pro gram.

71. In addition, as set forth above, after October 2007 Walgreens actively marketed
the PSC program to government beneficiaries through the above-referenced leaflets and it
incentivized its employees to enroll customers in the pro gram, without regard to whether the
customers were government beneficiaries

72. Finally, after Gotober 2007, Walgreens ignored additional evidence of significant

government beneficiary participation in the' PSC program. For example, in August 2010,

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Walgreens conducted an analysis of PSC program members in one particular state, and that
analysis revealed that about half of the PSC program members in that state in 2009 and 2010
were government beneficiaries A similar analysis of other states would have revealed similar
information: that significant numbers of government beneficiaries in those states were also
enrolling in the PSC program.

73. At best, Walgreens turned a blind eye to its enrollment of substantial numbers of
government beneficiaries in the PSC program during the Covered Period. This served
Walgreens’ own financial self-interest, as Walgreens feared that if it did not make the PSC
program benefits available to its customers many of them would take their pharmacy business to
one of its competitors Had government beneficiaries opted to fill their prescriptions at one of
Walgreens’ competitors Walgreens would have lost a substantial amount of money that it
obtained through (l) filling the government beneficiaries’ prescriptions and thereafter (2)
seeking reimbursement for many of those prescriptions from the beneficiaries’ government
healthcare programs

VII. Walgreens’ Compliance Program Was Inadequate to Prevent Government
Beneficiaries from Enrolling and Participating in the PSC Program

74. During the Covered Period, Walgreens did not have sufficient controls in place to
prevent (1) government beneficiaries from participating in the PSC program, and thus (2) the
PSC program from serving as a vehicle to pay kickbacks to government beneficiaries through
discounts on prescription drugs and other benefits

75. Indeed, during the Covered Period, the only mechanism that Walgreens put in
place to protect against government beneficiaries participating in the PSC program was to have
government beneficiaries _ a set of customers to whom it marketed the program and who it told

would benefit from enrolling in the program _ make a representation at the time of enrollment

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that they were not, in fact, government beneficiaries This was patently insufficient particularly
given that Walgreens (1) recognized that the program was attractive to government beneficiaries
and (2) was actively marketing the program to government beneficiaries lndeed, as of October
2007, Walgreens knew that no fewer than 13,000 government beneficiaries had successfully
enrolled in the PSC program, and it thereafter provided the above-described leaflets to
government beneficiaries showing them how much money they could save on particular
prescriptions if they purchased them through the PSC program.

76. Although Walgreens could have taken additional steps to police against
government beneficiaries enrolling in the PSC program, it did not do so. F or example, it did not
set its internal computer system to (1) block individuals who had a government healthcare
program on file in its system from enrolling in the PSC program, or (2) flag such individuals as
government beneficiaries if and when they sought to enroll in the PSC program. Walgreens
failure to take these or other additional steps was particularly problematic after October 2007.

77. Nor did Walgreens have effective procedures in place to audit the PSC program
for purposes of policing against government beneficiaries participating in the pro gram. As set
forth above, Walgreens possessed data that if reviewed with any reasonable degree of diligence,
would have revealed that hundreds of thousands of government beneficiaries were participating
in the PSC program. lndeed, the August 2010 analysis referenced above _ which looked only at
the PSC program members in one particular state in 2009 and 2010 _ revealed that about half of
them were government beneficiaries

VIII. Walgreens Submitted and Caused to Be Submitted Many False Claims that
Were Paid for by Federal Healthcare Programs

78. Through the PSC program, Walgreens knowingly provided kickbacks to hundreds

of thousands of government beneficiaries -- in the form of discounts and rebates on prescription

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medications and other store items ~ to induce the government beneficiaries to fill all of their
prescriptions at its pharmacies including those that were paid for in full or in part by government
healthcare programs

79. Many of the government beneficiaries who received the above-referenced
kickbacks in fact, filled prescriptions at Walgreens’ pharmacies that were paid for in full or in
part by Medicare, Medicaid or TRICARE. As discussed above, many of the government
beneficiaries who were enrolled in the PSC program alternated between using the PSC program
and their government healthcare program to fill prescriptions In connection with those

. prescriptions that such beneficiaries filled using their government healthcare programs
Walgreens submitted claims for reimbursement to those government healthcare programs and it
ultimately received millions of dollars in reimbursements from those programs

80. Walgreens is liable to the United States for damages based on the payment of the
above-referenced claims for reimbursement because the claims were tainted by Walgreens’
unlawful kickback activity.

81. Compliance with the AKS is a precondition of payment by the above-referenced
government healthcare programs (or their designees) by virtue of federal and state statutes
regulations provider agreements and contracts

82. As set forth above, Walgreens and other participants in the Medicare, Medicaid
and TRICARE claims processes submitted certifications and attestations in which they certified
compliance with the AKS. Kickbacks that were paid to government beneficiaries as alleged
herein rendered those certifications and attestations false. Those false certifications and
attestations were material to the decisions by the government healthcare programs (or their

designees) to pay the false claims for reimbursement that Walgreens submitted, or caused to be

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submitted, for prescriptions that were tainted by Walgreens’ kickback activity as described
herein

83. ’ Claims for reimbursement for prescriptions tainted by the kickbacks expressly and
impliedly misrepresented compliance with a material condition of payment, z`.e., compliance with
the AKS. Such claims that were tainted by a violation of the AKS constitute false or fraudulent
claims under the FCA. 42 U.S.C. § l320a-7b(g).

84. Walgreens knew that the remuneration it provided to government beneficiaries in
connection with the PSC program was an inducement to those beneficiaries to self-refer all of
their prescription medications to Walgreens’ pharmacies lt was reasonably foreseeable that
such government beneficiaries would purchase some of their prescription medications using their
government healthcare programs and that claims for those prescriptions would be submitted to
and paid for by those government healthcare programs And that is precisely what occurred, in
violation of the AKS and FCA.

FIRST COUNT

Violations of the False Claims Act: Presenting False Claims for Payment
(31 U.S.C. § 3729(a)(1) (2006), and, as amended, 31 U.S.C. § 3729(a)(1)(A))

85. The United States incorporates by reference each of the preceding paragraphs as if
fully set forth in this paragraph.

86 . The United States seeks relief against defendant under 31 U.S.C. § 3729(a)(1)
(2006) and, as amended, 31 U.S.C. § 3729(a)(1)(A).

87. As set forth above, Walgreens provided kickbacks to government beneficiaries
through the PSC program, which had the effect of inducing government beneficiaries to fill
prescriptions at Walgreens’ pharmacies using their government healthcare programs in violation

of the AKS, 42 U.S.C. § 1320a-7b(b)(2). In connection with these kickback-tainted

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prescriptions Walgreens made false and fraudulent claims for reimbursement to government
healthcare programs As a result, Walgreens knowingly presented or caused to be presented
false or fraudulent claims for payment or approval in violation of 31 U.S.C. § 3729(a)(1)(2006),
and, as amended, 31 U.S.C. § 3729(a)(1)(A).

88. By reason of the false or fraudulent claims the United States has sustained
damages in a substantial amount to be determined at trial, and is entitled to treble damages plus a
civil penalty for each violation

SECOND COUNT

Violations of the False Claims Act: Use of False Statements
(31 U.S.C. § 3729(a)(2) (2006), and, as amended, 31 U.S.C. § 3729(a)(1)(B))

89. The United States incorporates by reference each of the preceding paragraphs as if
fully set forth herein

90. The United States seeks relief against defendant under the False Claims Act, 31
U.S.C. § 3729(a)(2)(2006), and, as amended, 31 U.S.C. § 3729(a)(1)(B).

91. As set forth above, Walgreens provided kickbacks to government beneficiaries
through the PSC pro gram, which had the effect of inducing government beneficiaries to fill
prescriptions at Walgreens’ pharmacies using their government healthcare programs in violation
of the AKS, 42 U.S.C. § 1320a-7b(b)(2). In connection with these kickback-tainted
prescriptions Walgreens knowingly made or used, or caused others (such as PBMs and Part D
sponsors) to make or use, false records or statements that were material to false or fraudulent

v claims for payment submitted to government healthcare programs

92. By reason of these false records or statements the United States has sustained

damages in a substantial amount to be determined at trial, and is entitled to treble damages plus a

civil penalty for each violation

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THIRD COUNT
Unjust Enrichment

93. The United States incorporates by reference each of the preceding paragraphs as if
fully set forth herein

94. The United States paid claims submitted to federal healthcare programs based on
false statements submitted to government healthcare programs (or their designees) as a result of
Walgreens’ above-referenced violations of the AKS, 42 U.S.C. § 1320a-7b. The circumstances
of Walgreens’ receipt of payments in connection with prescriptions that were tainted by its
kickback activity are such that, in equity and good conscience, Walgreens should not retain those

payments the amount of which is to be determined at trial.

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WHEREFORE, the United States respectfully requests judgment against Walgreens as

follows:

a. On Counts One and Two (FCA), a judgment against Walgreens for treble

damages and civil penalties to the maximum amount allowed by law;

b. On Count Three (common law), a judgment for damages to the extent allowed by

law.

Dated: January lé, 2017
New York, New York

By:

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